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FILED
IN CLERKS OFFICE

IN THE UNITED STATES DISTRICT COURT .
FOR THE DISTRICT OF MASSAGAL si | AM 10: 22
BOSTON DIVISION

CASE NO: 1217-CR-10266e Oictpicy COURT
DISTRICT OF MASS.

ONITED STATES OF AMERICA,
Respondent

SALLY ANN JOHNSON,
Petitioner

 

 

MOTION REQUESTING THAT THIS HONORABLE COURT SET PETITIONER'S PAYMENT
SCHEDULE DURING TERM LEFT IN INCARCERATION DUE TO A MATERIAL CHANGE
IN PETITIONER'S ECONOMIC STATUS PURSUANT TO 18 USC § 3664 (k)

 

COMES NOW, petitioner, Ms. Sally Ann Johnson, pro se, humbly
and respectfully requesting that this Honorable Court set petitioner's
payment schedule while incarcerated due to an economic status change,
Petitioner is currently incarcerated at the Federal Prison Camp locat-
ed in Alderson, West Virginia. This facility is a non-UNICOR facility
which does not allow petitioner to make more than $5.25 per month
at her employment. Petitioner's family is no longer able to send
petitioner the funds that were previously being provided per month due
to an extensive family illness in which petitioner's family is now
responsible for paying a percentage of the care that is required.
In the instant case, at sentencing, Your Honor required that an
immediate payment of restitution be paid while petitioner is incar-
cerated, which in turn delegated petitioner's payment schedule while

incarcerated to the Bureau of Prisons. Pursuant to 18 USC 3664 (k)

the sentencing court is able to set a payment schedule while incar-
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cerated when the defendant has had a material change in their
economic status while incarcerated. Petitioner is requesting
that her payments be set at 25.00 dollars per quarter for the
duration of her incarceration. Petitioner is due to complete
her term of incarceration in 2019 with halfway house and Good
Credit time. Petitioner's full term of incarceration expires
on January 16, 2020.

WHEREFORE, petitioner is prayerful that pursuant to 18 USC
§ 3572 (1)(d)(1) that this Honorable Court will set petitioner's
payment schedule pursuant to her ability to pay with earnings
that she may earn during incarceration due to the economic change

in petitioner's material economic status.

Respectfully Submitted,

 

Pro se litigant(s) pleadings are to be held to a less
stringent standard than formal pleadings drafted by lawyers. If
the Court articulates that the litigant(s) could be entitled to
relief, it should move forward in a favorable manner towards the
defendant in doing so. HAINES v. KERNER, 30 LED 2D 652, 404 S.
Ct., 519.
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CERTIFICATE OF SERVICE

 

This is to certify that I have served a true and correct copy

of the following : MOTION REQUESTING THAT THIS HONORABLE
COURT SET PETITIONER'S PAYMENT SCHEDULE
DURING TERM LEFT IN INCARCERATION DUE
TO MATERIAL CHANGE IN ECONOMIC STATUS
PURSUANT TO 18 USC § 3664 (k)

upon the following address by placing same in a sealed envelope
bearing sufficient postage for the delivery via the United States
Mail Service to : United States Courthouse
(John Joseph Moakley)
One Courthouse Way -Suite 2500
ATTN: Honorable Judge Casper
Boston, MA 02210-3002

which was hand delivered to prison authorities on the grounds of

the Federal Prison Camp, located in Alderson, West Virginia on

this 29 day of February, 2019.

SO SERVED:

 

Litigation is deemed FILED at the time it was delivered to prison
authorities. HOUSTON v. LACK, 101 L. Ed 2d 245 (1988).
